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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                                 Case No. 06-20663
v
                                                 HONORABLE AVERN COHN
D-8, ANTHONY TROY GRAY,                          UNITED STATES DISTRICT JUDGE

              Defendant.
                                         /



                       ORDER CANCELLING ARREST WARRANT

       On November 10, 2008 the Court issued an arrest warrant for the defendant for

failure to report to SCP USP Lompoc as notified. The Court has been informed that the

defendant has voluntarily reported to the institution. Therefore,

       IT IS HEREBY ORDERED THAT the arrest warrant issued on November 10,

2008 for Anthony Troy Gray be CANCELLED.

       SO ORDERED.


Dated: November 14, 2008                         s/ Avern Cohn
                                                 AVERN COHN
                                                 United States District Judge
